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 3                    IN THE UNITED STATES DISTRICT COURT FOR THE
 4                              EASTERN DISTRICT OF CALIFORNIA
 5
        LISA COBLE,                          )                 1:10-CV–259 AWI JLT
 6                                           )
                                             )               ORDER CLOSING CASE IN
 7                        Plaintiff,         )               LIGHT OF THE PARTIES’S
                                             )               RULE 41(a) VOLUNTARY
 8            v.                             )               DISMISSAL
                                             )
 9      MARK DEROSIA, et al.,                )
                                             )               (Doc. No. 49)
10                                           )
                          Defendants.        )
11      ____________________________________ )
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14
            On January 3, 2012, the parties filed a stipulation for dismissal of this case with prejudice
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     pursuant to Federal Rule of Civil Procedure 41(a)(1). The notice is signed by all parties who
16
     have appeared in this case.
17
18          Rule 41(a)(1), in relevant part, reads:

19          (A) . . . the plaintiff may dismiss an action without a court order by filing: (i) a
            notice of dismissal before the opposing party serves either an answer or a motion
20          for summary judgment; or (ii) a stipulation of dismissal signed by all parties who
            have appeared. . . . (B) Unless the notice or stipulation states otherwise, the
21          dismissal is without prejudice.

22   Rule 41(a)(1)(A)(ii) thus allows the parties to dismiss an action voluntarily, after service of an

23   answer, by filing a written stipulation to dismiss signed by all of the parties who have appeared,

24   although an oral stipulation in open court will also suffice. See Carter v. Beverly Hills Sav. &

25   Loan Asso., 884 F.2d 1186, 1191 (9th Cir. 1989); Eitel v. McCool, 782 F.2d 1470, 1472-73 (9th

26   Cir. 1986). Once the stipulation between the parties who have appeared is properly filed or made

27   in open court, no order of the court is necessary to effectuate dismissal. Fed. R. Civ. Pro.

28   41(a)(1)(A); Eitel, 782 F.2d at 1473 n.4. “Caselaw concerning stipulated dismissals under Rule
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 1   41(a) (1) (ii) is clear that the entry of such a stipulation of dismissal is effective automatically and
 2   does not require judicial approval.” In re Wolf, 842 F.2d 464, 466 (D.C. Cir. 1989); Gardiner v.
 3   A.H. Robins Co., 747 F.2d 1180, 1189 (8th Cir. 1984); see also Gambale v. Deutsche Bank AG,
 4   377 F.3d 133, 139 (2d Cir. 2004); Commercial Space Mgmt. Co. v. Boeing Co., 193 F.3d 1074,
 5   1077 (9th Cir. 1999) cf. Wilson v. City of San Jose, 111 F.3d 688, 692 (9th Cir. 1997)
 6   (addressing Rule 41(a)(1)(i) dismissals).
 7            As the parties have filed a stipulation for dismissal of this case with prejudice under Rule
 8   41(a)(1) that is signed by all parties who have made an appearance, this case has terminated. See
 9   Fed. R. Civ. Pro. 41(a)(1)(A)(ii); In re Wolf, 842 F.2d at 466; Gardiner, 747 F.2d at 1189; see
10   also Gambale, 377 F.3d at 139; Commercial Space Mgmt, 193 F.3d at 1077; cf. Wilson, 111
11   F.3d at 692.
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13            Therefore, IT IS HEREBY ORDERED that the Clerk is to CLOSE this case in light of
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     the parties’s filed and properly signed Rule 41(a)(1)(A)(ii) Stipulation Of Dismissal with
15
     prejudice
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     IT IS SO ORDERED.
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18   Dated:      January 4, 2012
     ciem0h                                            CHIEF UNITED STATES DISTRICT JUDGE
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